           Case 1:22-cv-01685-LGS Document 10 Filed 04/28/22 Page 1 of 2


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 JUDITH MAYSONET, et al.,                                     :
                                              Plaintiffs, :       22 Civ. 1685 (LGS)
                                                              :
                            -against-                         :        ORDER
                                                              :
 NEW YORK CITY DEPARTMENT OF                                  :
 EDUCATION,                                                   :
                                              Defendant. :
 ------------------------------------------------------------ X
LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on February 28, 2022, Plaintiff filed a Complaint and, on April 26, 2022,

Defendant filed its Answer.

        WHEREAS, on April 27, 2022, the parties filed a joint letter and case management plan

stating that no discovery was necessary and the parties intended to file motions for summary

judgment based on the administrative record.

        WHEREAS, an initial conference is scheduled on May 4, 2022. It is hereby

        ORDERED that the May 4, 2022, initial conference is CANCELLED. It is further

        ORDERED that by May 4, 2022, the parties shall return an executed Notice, Consent,

and Reference of a Civil Action to a Magistrate Judge form to the Clerk of Court, 1 if the parties

agree to conduct all further proceedings before Judge Cave, in compliance with Rule 73.1 of the

Local Civil Rules for the Southern and Eastern Districts of New York. It is further

        ORDERED that by May 20, 2022, Plaintiff shall file a motion for summary judgment,

not to exceed 25 pages. By June 10, 2022, Defendant shall file the opposition and any cross-

motion for summary judgment, not to exceed 30 pages. By July 1, 2022, Plaintiff shall file a

reply and opposition to Defendant’s cross-motion for summary judgment if any, not to exceed 15

1
 The form is available at
https://nysd.uscourts.gov/sites/default/files/practice_documents/kpfSDNYFormConsentingToPro
ceedForAllPurposesBeforeAMagistrateJudge.pdf.
          Case 1:22-cv-01685-LGS Document 10 Filed 04/28/22 Page 2 of 2


pages. By July 22, 2022, Defendant shall file a reply in support of the cross-motion for summary

judgment if any, not to exceed 10 pages. Notwithstanding these aforementioned page limits, each

party has discretion over how to allocate its respective 40 pages total of briefing across its two

briefs, provided neither party exceeds the 40 pages of briefing total. It is further

       ORDERED that the parties shall Bates-stamp the administrative record (the “Record”)

such that each page has a unique Bates number. It is further

       ORDERED that, in lieu of separate Local Rule 56.1 statements, the parties shall file a

joint statement of undisputed facts (“Joint Statement”), with citations to the Bates-stamped

Record, by the time that the first brief is due. The parties shall indicate any disputed facts

clearly in the Joint Statement. It is further

       ORDERED that, within two days of the cross-motions being fully briefed, the parties

shall email to Chambers a text-searchable copy of the Bates-stamped Record and a Word version

of the Joint Statement. Defendants (as the last-to-file party) shall also submit the courtesy copies

of all filings to Chambers. Except as provided here, the parties shall follow the Individual Rules

on motions, exhibits and courtesy copies.

       If the parties consent to Judge Cave’s jurisdiction, they shall seek further instructions

from Judge Cave on delivering electronic copies of the record and the Joint Statement and

physical courtesy copies to her Chambers.

Dated: April 28, 2022
       New York, New York




                                                  2
